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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION
                        Civil Action No.: 2:24-cv-993-RMG


BASF CORPORATION, as successor in
interest to CIBA CORPORTATION,

     Plaintiff,

v.

AIU INSURANCE CORPORATION, et al.

     Defendants.




COLISEUM REINSURANCE COMPANY’S MOTION TO DISMISS OR TRANSFER
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       Defendant Coliseum Reinsurance Company, as successor by merger to AXA Insurance

Company, formerly known as Colonia Insurance Company, a New York Corporation (identified

in the Complaint as AXA Insurance Company and referred to herein as “Coliseum”), through their

undersigned counsel and pursuant to Fed. R. Civ. P. 12(b)(2), the common law doctrine of forum

non conveniens, and 28 U.S.C. § 1404, hereby respectfully moves this Court to dismiss the

Complaint filed by BASF Corporation (“BASF”) or, in the alternative, transfer this action to the

U.S. District Court for the Southern District of New York. As noted below, Coliseum also joins

and incorporates by reference the arguments of AIU Insurance Company, Granite State Insurance

Company, Insurance Company of the State of Pennsylvania, and National Union Fire Insurance

Company of Pittsburgh, Pa., (collectively, the “Partial AIU Insurers”) and Allstate Insurance

Company in their respective Motions to Dismiss.

 I.    SUMMARY OF THE NATURE OF THE CASE

       This is an insurance coverage action in which BASF is seeking a declaration that several

of its insurers (the “Defendants”) owe a duty to pay for the defense and indemnity that BASF has

or will incur in connection with underlying lawsuits. However, neither BASF nor any of the

Defendants are citizens of South Carolina. None of the insurance policies are alleged to have been

issued in South Carolina. Defendants do not have the requisite minimum contacts with South

Carolina and it would be constitutionally impermissible to force them to litigate in South Carolina.

Accordingly, this Court lacks personal jurisdiction and should dismiss this case.

       Additionally, there are competing actions in the U.S. District Court for the Southern

District of New York (the “New York Action”) and in New Jersey State court (the “New Jersey

Action”) involving BASF’s disputes with its insurers in connection with the same underlying

lawsuits. Either New York or New Jersey are more appropriate places for litigation of this dispute




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because several Defendants are allegedly located and issued policies in New York, while BASF is

located in New Jersey. Moreover, both of those competing actions have additional parties that are

missing from this action. Therefore, complete resolution of BASF’s disputes with its insurers

cannot be achieved in South Carolina, and can only be achieved in other forums. Accordingly,

even if this Court has jurisdiction (which it does not), this dispute should be dismissed pursuant to

the common law doctrine of forum non conveniens or, alternatively, transferred.1

II.    STATEMENT OF FACTS2

       From approximately 1976 until 1991, BASF’s predecessor allegedly manufactured and

sold products containing chemicals known as per- and polyfluoroalkyl substances (“PFAS”). Doc.

1 at ECF pp. 2 and 11. BASF’s predecessors’ products allegedly caused bodily injury, personal

injury and property damage. Doc. 1 at ECF pp. 2 and 12. Allegedly injured individuals, water

providers, governmental authorities, and others have filed thousands of underlying lawsuits against

BASF. Doc. 1 at ECF pp. 2 and 12.

       BASF has sued numerous insurance companies that allegedly provided umbrella and

excess insurance to BASF from 1976 until 1986. Doc. 1 at ECF p. 3. BASF alleges that the

Defendants’ “insurance policies require the Defendant Insurers to pay all sums, including the



1
 As discussed below, the New York Action was filed in New York State court, removed to the U.S.
District Court for the Southern District of New York, and is now the subject of a motion to remand.
Because it is difficult to predict whether the New York Action will be in state or federal court when
this Motion is decided, Coliseum respectfully seeks dismissal pursuant to forum non conveniens
or, in the alternative, a transfer of this action pursuant to 28 U.S.C. § 1404. The analysis under
forum non conveniens and 28 U.S.C. § 1404 are similar. BAE Sys. Tech. Sol. & Servs., Inc. v.
Republic of Korea’s Def. Acquisition Program Admin., 884 F.3d 463, 471 FN6 (4th Cir. 2018), as
amended (Mar. 27, 2018). While Coliseum focuses its argument on forum non conveniens,
Coliseum respectfully submits that, in this case, the result is the same under either approach: South
Carolina is not the appropriate forum for this dispute.
2
  For the purposes of this Motion, Coliseum refers to the allegations in BASF’s Complaint as if
they were true. Coliseum reserves the right to challenge these allegations in the future.


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payment of defense litigation fees and expenses, for which [BASF and/or its predecessors] shall

become legally obligated to pay which arise out of an occurrence.” Doc. 1 at ECF p. 3. BASF

also alleges that the Defendants included South Carolina within the coverage territory of their

policies or did not include any relevant territorial limitation on their policies. Doc. 1 at ECF p. 10.

        This is one of three lawsuits that BASF is litigating with its insurers in connection with the

same underlying PFAS injury claims:

             1. First, BASF filed this lawsuit on February 27, 2024.

             2. Second, on March 4, 2024, Certain Underwriters at Lloyd’s, London and Certain
                London Market Insurance Companies (collectively, “London Insurers,” which are
                not defendants in this lawsuit) sued BASF and BASF’s alleged insurers in New
                York State court (the “New York action”). On March 5, 2024, BASF removed the
                New York Action to the U.S. District Court for the Southern District of New York.
                See London Insurers’ Complaint and BASF’s Notice of Removal in the New York
                Action, attached as Exhibit A. The London Insurers have moved to remand the
                New York Action back to state court, and that motion remains pending. See London
                Insurers’ Motion to Remand, attached as Exhibit B.

             3. Finally, on March 13, 2024, BASF filed its own competing action in New Jersey
                State court against these Defendants and the London Insurers (the “New Jersey
                Action”). See BASF’s Complaint filed in the New Jersey Action, attached as
                Exhibit C. 3

        For the Court’s convenience, a list of the insurers involved in each of the three competing

actions is set forth in Appendix A, accompanying this brief.

III.    THE COURT SHOULD DISMISS THIS CASE BECAUSE IT LACKS PERSONAL
        JURISDICTION OVER SOME OR ALL OF THE DEFENDANTS

        A.      Legal Standard for Personal Jurisdiction




3
 The Court may take judicial notice of facts that are not subject to reasonable dispute because the
can be accurately and readily determined from sources whose accuracy cannot reasonably be
questioned. Fed. R. Evid. 201(b)(2). Accordingly, the Court may properly take judicial notice of
matters of public record. Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 180 (4th Cir. 2009); see
also United States v. Fowler, 58 F.4th 142, 152 (4th Cir. 2023) (noting that the most frequent use
of judicial notice of ascertainable facts is in noticing the content of court records).


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       The Due Process Clause of the United States Constitution protects an individual’s liberty

interest by preventing them from being subject to binding judgments in a forum with which they

have established no meaningful contacts, ties, or relations. Burger King Corp. v. Rudzewicz, 471

U.S. 462, 471-72, 105 S. Ct. 2174, 2181, 85 L. Ed. 2d 528 (1985). By requiring that individuals

have fair warning that a particular activity may subject them to the jurisdiction of a foreign

sovereign, the Due Process Clause gives a degree of predictability to the legal system that allows

potential defendants to structure their primary conduct with some minimum assurance as to where

that conduct will and will not render them liable to suit. Id. at 472. A court may only subject a

defendant to judgment when the defendant has sufficient contacts with the sovereign such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice. J.

McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 131 S. Ct. 2780, 2783, 180 L. Ed. 2d 765 (2011).

       For a District Court to validly assert personal jurisdiction over a non-resident defendant,

two conditions must be satisfied: (1) the exercise of jurisdiction must be authorized by the long-

arm statute of the forum state; and (2) the exercise of personal jurisdiction must also comport with

the United States Constitution’s due process requirements. Christian Sci. Bd. of Directors of First

Church of Christ, Scientist v. Nolan, 259 F.3d 209, 215 (4th Cir. 2001). Courts sitting in South

Carolina have construed South Carolina’s long-arm statute to extend to the outer limits of the Due

Process Clause in the Fourteenth Amendment of the U.S. Constitution. Abdulla v. S. Bank, 439

S.C. 391, 401, 887 S.E.2d 138, 143 (Ct. App. 2023). Accordingly, the application of the long-arm

statute is coextensive with the application of the Due Process Clause, and this Motion focuses on

whether the exercise of personal jurisdiction in this case would violate the strictures of Due Process

Clause in the U.S. Constitution. See id. (applying that analysis).




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       When a defendant moves to dismiss for lack of personal jurisdiction under Fed. R. Civ. P.

12(b)(2), the plaintiff bears the burden of proving the existence of jurisdiction to the District Court.

New Wellington Fin. Corp. v. Flagship Resort Dev. Corp., 416 F.3d 290, 294 (4th Cir. 2005); In

re Celotex Corp., 124 F.3d 619, 628 (4th Cir. 1997). When a district court rules on a Rule 12(b)(2)

motion without conducting an evidentiary hearing or without deferring ruling pending receipt at

trial of evidence relevant to the jurisdictional issue, the burden on the plaintiff is to make a prima

facie showing of a sufficient jurisdictional basis in order to survive the jurisdictional challenge. In

re Celotex Corp., 124 F.3d at 628; see also, e.g., In re Aqueous Film-Forming Foams Prod. Liab.

Litig., No. CV 2:18-2873-RMG, 2023 WL 6846676, at *2 (D.S.C. Oct. 17, 2023).

       B.      The Court Lacks General Jurisdiction Over The Defendants

       There are two types of jurisdiction: (1) general jurisdiction; and (2) specific jurisdiction.

Universal Leather, LLC v. Koro AR, S.A., 773 F.3d 553, 559 (4th Cir. 2014). A court may assert

general jurisdiction over corporations to hear all claims against them when their affiliations with

the State are so continuous and systematic as to render them essentially at home in the forum State.

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919, 131 S. Ct. 2846, 2851, 180

L. Ed. 2d 796 (2011). For a corporation, the paradigm forum for the exercise of general jurisdiction

is where a corporation exists in two locations: (1) where it is incorporated; and (2) where it

maintains its principal place of business. Fidrych v. Marriott Int’l, Inc., 952 F.3d 124, 132 (4th

Cir. 2020). Only in an exceptional case will a corporation’s operations in a forum other than its

formal place of incorporation or principal place of business be so substantial and of such a nature

as to render the corporation at home in that State. Daimler AG v. Bauman, 571 U.S. 117, 139

FN19, 134 S. Ct. 746, 761, 187 L. Ed. 2d 624 (2014).




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        None of the Defendants are alleged to be incorporated in South Carolina or have their

principal place of business in South Carolina. Doc. 1 at ECF pp. 5-10. Although some (but not

all) of the Defendants are allegedly licensed to do business in South Carolina, this Court has

already correctly decided that a corporation’s licensure to conduct business is South Carolina does

not subject that corporation to general jurisdiction in South Carolina. See In re Aqueous Film-

Forming Foams, 2023 WL 6846676, at *5 (citing Fidrych, 952 F.3d at 135 (“… the Plaintiffs

contend that… foreign corporations who chose to obtain a certificate of authority in South Carolina

have consented to general jurisdiction in South Carolina. We disagree.”)). Accordingly, this Court

lacks general jurisdiction over these Defendants.

        C.      The Court Lacks Specific Jurisdiction Over The Defendants

        Specific, or “case-linked,” jurisdiction depends on an affiliation between the forum and the

underlying controversy. Goodyear, 564 U.S. at 919. Principally, this is an activity or occurrence

that takes place in the forum State and is, therefore, subject to the State’s regulation. Id. In contrast

to general, all-purpose jurisdiction, specific jurisdiction is confined to adjudication of issues

deriving from, or connected with, the very controversy that establishes jurisdiction. Id. Specific

jurisdiction applies to cases in which the suit arises out of or relates to the defendant’s contacts

with the forum. Daimler AG, 571 U.S. at 118.

        In the Fourth Circuit, courts use a three-part inquiry to determine whether the exercise of

specific jurisdiction over a party comports with the Due Process Clause in the U.S. Constitution.

ESAB Grp., Inc. v. Zurich Ins. PLC, 685 F.3d 376, 391 (4th Cir. 2012). Under this test, courts

consider: (1) the extent to which the defendant purposefully availed itself of the privilege of

conducting activities in the State; (2) whether the plaintiff’s claims arise out of those activities

directed at the State; and (3) whether the exercise of personal jurisdiction would be constitutionally




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reasonable. Id. Importantly, a plaintiff must prevail on each prong in order for the court to exercise

personal jurisdiction over the defendant in this case. Perdue Foods LLC v. BRF S.A., 814 F.3d

185, 189 (4th Cir. 2016); Rosen v. Halperns’ Steak & Seafood Co., No. 4:18-CV-00857-RBH,

2019 WL 109327, at *3 (D.S.C. Jan. 4, 2019).

       As discussed below, the first and third prongs of this test are not met here, which precludes

this Court in South Carolina from having specific jurisdiction over the Defendants.

               1.      The Defendants Did Not Purposely Avail Themselves Of The Privilege
                       Of Conducting Activities In South Carolina

       To meet the first prong, the court must find that the defendant has established “minimum

contacts” with the forum state by purposefully availing itself of the privilege of conducting

business under the state’s laws. ESAB, 685 F.3d at 392. A defendant’s actions that are directed at

the forum state in only a random, fortuitous, or attenuated way are insufficient to support

jurisdiction. Id. For example, merely placing a product into the stream of commerce foreseeing

that it might ultimately reach the forum state is insufficient to create jurisdiction; instead, minimum

contacts necessary to establish jurisdiction exist when the defendant targets the forum state. Id.

(citing Nicastro, 564 U.S. at 882 (“The defendant’s transmission of goods permits the exercise of

jurisdiction only where the defendant can be said to have targeted the forum; as a general rule, it

is not enough that the defendant might have predicted that its goods will reach the forum State”)).

Importantly, the defendant’s conduct – not the plaintiff’s contacts with the defendant and forum –

must form the necessary connection with the forum state that is the basis for its jurisdiction.

Walden v. Fiore, 571 U.S. 277, 285, 134 S. Ct. 1115, 1122, 188 L. Ed. 2d 12 (2014).

       The Defendants recognize that in ESAB, 685 F.3d at 392, the Court of Appeals

acknowledged “unique aspects of the business of insurance relevant to the evaluation of an

insurer’s contacts with a forum.” Specifically, the U.S. Court of Appeals held that, in certain



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circumstances, an out-of-state insurer could establish minimum contacts necessary to establish

jurisdiction if the insurer agreed to furnish a defense to its policyholder within a specified policy

territory. Id. This is because, according to the Court of Appeals, by agreeing to furnish a defense

to its policyholder in the state, the insurer indicates its willingness to be haled into court in the

same state. Id. The Court of Appeals’ decision in ESAB cited and applied the earlier Court of

Appeals’ decision in Rossman v. State Farm Mut. Auto. Ins. Co., 832 F.2d 282 (4th Cir. 1987),

which reached the same conclusion. Id. at 286. The Rossman decision turned on the Court of

Appeal’s view that an insurer that promised to defend its insured could “foresee” being haled into

court where its insureds were sued within the coverage territory. Id.

       However, after ESAB and Rossman were decided, the U.S. Supreme Court in Walden, 571

U.S. at 289, held that the requisite “minimum contacts” with the forum state were not created

simply because the defendant knew of the plaintiff’s contacts with the forum state and could

foresee that it might be harmed in the forum state. After Walden, in Lexington Ins. Co. v. Hotai

Ins. Co., Ltd., 938 F.3d 874 (7th Cir. 2019), Judge Barrett (now Justice Barrett) clarified the

application of the “minimum contact” analysis in the context of litigation against insurers.

       The Lexington court held that the fact that the insurers’ policies contained a worldwide

coverage provision did not create the minimum contacts necessary to establish personal

jurisdiction. Id. at 880. The Lexington Court considered the argument that the insurers derived

financial benefits from the more extensive geographic coverage, but rejected it:

               As an initial matter, gaining a financial benefit by including Wisconsin in a
               territory of coverage is not the equivalent of “doing business in” Wisconsin.
               If a parent bets her fifth grader fifty dollars that it will rain in every single
               state during the month of June, she hasn’t “done business” in all fifty states
               even though her profit will increase or decrease based on what happens in
               each—and even though her risk and potential profit would have been less if
               she had limited the territory to twenty-five states. A defendant does business
               in a forum state when it “purposefully avail[s] itself of the privilege of



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               conducting activities within the forum State, thus invoking the benefits and
               protections of its laws.” Id. at 881 (citations omitted and emphasis original).

       The Lexington court noted that the Supreme Court has “squarely rejected the proposition

that such collateral financial benefits are purposeful contacts.” Id. (citing World-Wide Volkswagen

Corp. v. Woodson, 444 U.S. 286, 299, 100 S. Ct. 559, 568, 62 L. Ed. 2d 490 (1980) (“… financial

benefits accruing to the defendant from a collateral relation to the forum State will not support

jurisdiction if they do not stem from a constitutionally cognizable contact with that State”)).

       The Lexington court also held that the “minimum contacts” analysis was not satisfied

because the worldwide coverage clauses in the relevant policies made it “foreseeable” that the

insurers might be sued in the forum state.        Lexington, 938 F.3d at 881.       This is because

foreseeability alone has never been a sufficient benchmark for personal jurisdiction under the Due

Process Clause. Id. (citing World-Wide Volkswagen, 444 U.S. at 295). On the contrary, permitting

jurisdiction based on foreseeability is inconsistent with the premises of lawful judicial power. Id.

(citing Nicastro, 564 U.S. at 883). The Lexington Court noted that “… the Supreme Court has

continued to stress that the foreseeability of suit in a forum is not enough to justify the state’s

exercise of jurisdiction over a defendant.” Id. at 884 (citing Walden, 571 U.S. at 284-86, and

Nicastro, 564 U.S. at 882-83).

       Accordingly, the Lexington court concluded that the worldwide coverage clause defined

the territorial scope of the insurers’ obligation, “[b]ut the presence of a state within the scope of

coverage creates no purposeful connection between the insurers and that state.” Id. at 882

(emphasis original). The Lexington court noted in dicta that certain other decisions, such as

Rossman, held that insurers should expect to be haled into court where they owe a duty to defend.

Lexington, 938 F.3d at 882-83. However, because the insurers in Lexington did not owe a duty to




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defend, and instead merely had a right to defend, the Lexington court held that Rossman was not

controlling. Id. at 883 (“The absence of a duty-to-defend clause is decisive”).

       Two recent District Court cases provide further guidance regarding how Walden and

Lexington should be applied when analyzing “minimum contacts” in the context of litigation

against insurers. First, in Givens v. Erie Ins. Co., No. CV 6:22-00842-HMH, 2022 WL 2759167,

at *1-2, 9 (D.S.C. Jul. 14, 2022), an insurer incorporated in Pennsylvania provided insurance to a

New York limited liability company which allegedly covered a vehicle rented in Georgia that was

used in a fatal accident in South Carolina. The driver was found liable and assigned his rights

against the insurer to the decedent’s estate. Id. at *2. The estate then sued the insurer. Id. The

insurer moved to dismiss. Id. This Court held that it lacked jurisdiction over the out-of-state

insurer that had allegedly provided insurance for an out-of-state insured. Id. at *9. This Court

explained that “[M]ere injury to a forum resident is not a sufficient connection to the forum… The

proper question is… whether the defendant’s conduct connects him to the forum in a meaningful

way.” Id. (quoting Walden, 571 U.S. at 278).

       More recently, in Etienne v. Wartsilla N.A., Inc., 667 F.Supp.3d 235, 239 (S.D. Miss. 2023),

the U.S. District Court for the Southern District of Mississippi provided valuable guidance

regarding the application of Lexington. In Etienne, 667 F.Supp.3d at 239, Cory Etienne was injured

in Mississippi in a vehicular accident involving a car rented by a company incorporated in

Maryland with its principal place of business in Texas. Mr. Etienne sued the rental car company,

which was allegedly the subsidiary of a Finnish company. The rental car company and the Finnish

parent company were allegedly insured by an insurer domiciled in Ireland. Id. Mr. Etienne then

attempted to add the insurer as an additional defendant. Id. The insurer moved to dismiss for lack

of personal jurisdiction. Id. at 240. The District Court held that the insurer had no contact with




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Mississippi, let alone the “minimum contacts” necessary to justify the application of personal

jurisdiction. Id. at 248. The District Court considered the argument that a worldwide territorial

coverage clause created contacts with Mississippi, but squarely rejected the argument. Id. at 249-

50 (citing Lexington, 938 F.3d at 880-81). The District Court also rejected the argument that

contact with Mississippi was created because the insurer could foresee that it might be sued in

Mississippi. Id. at 250 (citing Lexington, 938 F.3d at 882 & 884, World-Wide Volkswagen, 444

U.S. at 295, and other cases). Finally, the District Court cautioned that many of the cases finding

the existence of personal jurisdiction over out-of-state insurers based on broad territorial coverage

clauses predated the U.S. Supreme Court’s decision in Nicastro and the Supreme Court’s

“admonition” that “foreseeability of suit in a forum is not enough to justify a state’s exercise of

jurisdiction over a defendant.” Id. at 251 (quoting Lexington, 938 F.3d at 884, and also citing

Walden, 571 U.S. at 284-86, and Nicastro, 564 U.S. at 882-83).4

       In this case, there are no allegations that any of the Defendants “targeted” South Carolina.

BASF alleges that it is incorporated in Delaware and that its principal place of business is in New

Jersey. Doc. 1 at ECF p. 4. BASF alleges that the Defendants’ policies were issued to BASF’s

predecessor, but BASF alleges no information about where BASF’s predecessor was located or

where the policies were issued. Doc. 1 at ECF p. 4. Instead, BASF seeks to focus the Court’s

attention on BASF’s own connections to South Carolina, such as BASF’s predecessor’s alleged

(but unspecified) “operations, products, and interests in or relating to South Carolina” and the

lawsuits pending against BASF in South Carolina. Doc. 1 at ECF pp. 10-11. However, under

Walden, only the Defendants’ conduct directed towards South Carolina, not BASF’s contacts in



4
 In Etienne, 667 F.Supp.3d at 251, the District Court went even further than Lexington when it
held that even a contractual duty to defend an insured in the forum state did not create the contacts
necessary to establish personal jurisdiction in that forum.


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the state or the foreseeability that BASF might be sued in South Carolina, can serve as the

“minimum contacts” necessary to establish personal jurisdiction. See Walden, 571 U.S. at 285.

       Additionally, although BASF alleges that the Defendants included South Carolina within

their coverage territory (Doc. 1 at ECF p. 10), under Lexington, that is not enough to establish the

requisite minimum contacts. Even if the Defendants may have foreseen that they might have been

called upon to respond to claims in South Carolina, there are no allegations that any Defendants

“targeted” South Carolina. Therefore, the requirement set down by the U.S. Supreme Court in

Nicastro is not satisfied. Moreover, unlike in ESAB and Rossman, there are no allegations that the

Defendants’ owe BASF a duty to defend; instead, BASF alleges that the Defendants’ policies

require them to pay defense litigation fees and expenses. This case is therefore distinguishable

from ESAB and Rossman, and analogous to Lexington, where the court held that the lack of a duty-

to-defend clause was dispositive in concluding that the insurers could not be haled into court

wherever their insured happened to be sued. See Lexington, 938 F.3d at 883 (“The absence of a

duty-to-defend clause is decisive”). Accordingly, BASF’s allegations do not establish the requisite

“minimum contacts” with South Carolina to establish jurisdiction.

               2.      The Exercise Of Personal Jurisdiction Over The Defendants Would
                       Not Be Constitutionally Reasonable

       Minimum requirements inherent in the concept of “fair play and substantial justice” may

defeat the reasonableness of jurisdiction even if the defendant has purposefully engaged in forum

activities. Burger King, 471 U.S. at 477–78. Jurisdiction cannot be established if the defendant

can present a compelling case that the presence of some other considerations would render

jurisdiction unreasonable.    Id.   The “minimum contacts” analysis and the reasonableness

component of the due process analysis are interrelated in that the reasonableness prong of the due

process inquiry evokes a sliding scale: the weaker the contacts, the less a defendant need show in


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terms of unreasonableness to defeat jurisdiction. Ticketmaster-New York, Inc. v. Alioto, 26 F.3d

201, 210 (1st Cir. 1994); see Ellicott Mach. Corp. v. John Holland Party Ltd., 995 F.2d 474, 479

(4th Cir. 1993) (the “insubstantial character” of the contacts to the state required “a more concerned

focus” on the reasonableness component of the due process analysis); see also Richard L. Haig

(ed.), 1 Bus. & Com. Litig. Fed. Cts. § 2:27 (5th ed. Nov. 2022) (explaining the application of the

sliding scale and citing authority). Importantly, minimum contacts based on territory-of-coverage

clauses and a right to defend the insured are qualitatively low on the due process scale. OMI

Holdings, Inc. v. Royal Ins. Co. of Canada, 149 F.3d 1086, 1095 (10th Cir. 1998) (“… sole reliance

on the territory of coverage clause creates contacts which are qualitatively low on the due process

scale”); see also TH Agric. & Nutrition, LLC v. Ace Eur. Grp. Ltd., 488 F.3d 1282, 1292 (10th Cir.

2007) (quoting OMI Holdings).

       In applying the reasonableness component of the due process analysis, the court considers:

(1) the burden on the defendant; (2) the forum State’s interest in adjudicating the dispute; (3) the

plaintiff’s interest in obtaining convenient and effective relief; (4) the interstate judicial system’s

interest in obtaining the most efficient resolution of controversies; and (5) the shared interest of

the several States in furthering fundamental substantive social policies. Burger King, 471 U.S. at

477; see also United States v. Batato, 833 F.3d 413, 425 (4th Cir. 2016).

       None of these factors favor litigation in South Carolina.               The Defendants are

unquestionably burdened by litigating in South Carolina given that none of them are incorporated

in South Carolina or have their principal place of business in South Carolina. Doc. 1 at ECF pp.

5-10. In fact, several Defendants are alleged to be incorporated in foreign nations, including

Bermuda, Germany, Switzerland, and the United Kingdom. Doc. 1 at ECF pp. 5-7 and 9-10. South

Carolina only has minimal interest in adjudicating this dispute. Although BASF alleges that 70




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underlying AFFF MDL lawsuits were filed in South Carolina or identified South Carolina as their

home venue (Doc. 1 at ECF p. 11), that is only a small fraction of the “thousands” of underlying

lawsuits that BASF is facing (Doc. 1 at ECF p. 11). Moreover, this action is not about the liability

issues raised in the underlying lawsuits; it is about whether insurance coverage exists with respect

to the underlying lawsuits. This action therefore involves the application of insurance policies

issued by out-of-state insurers to a predecessor of BASF, a Delaware corporation located in New

Jersey (Doc. 1 at ECF p. 4). Given these alleged facts, the Court can infer that South Carolina law

is unlikely to apply to the interpretation of the policies that will be the focus of this coverage case.

        In ESAB, 685 F.3d at 393, the Court of Appeals held that it was constitutionally reasonable

to force an out-of-state insurer to defend itself in South Carolina because South Carolina had a

“manifest interest” in adjudicating a coverage action involving an insured based in South Carolina.

Similarly, in Rossman, 832 F.2d at 287, the Court of Appeals held that it was constitutionally

reasonable to force an out-of-state insurer to defend itself in Virginia because the insured was a

Virginia resident. This case is nothing like ESAB or Rossman. South Carolina has no “manifest

interest” in adjudicating this case because BASF is not a citizen of South Carolina.

        With respect to the third and fourth factors of the reasonableness analysis, there is no reason

to assume that this Court is the only place, or even the most efficient place, for BASF to obtain

convenient and effective relief. On the contrary, both the competing New York Action and the

competing New Jersey Action include parties who were not sued in this action (see parties

identified in Exhibits A and C, and summarized in Appendix A). Therefore, resolution of the other

actions is likely to result in more effective and more complete relief.

        Furthermore, it is clear that BASF itself recognizes that it can also obtain effective relief

in the New Jersey Action, given that BASF itself filed that competing action (which also includes




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parties not sued in this action). In that action, BASF identified New Jersey state court as “… the

forum of [BASF’s] choice” (see Exhibit C at ¶ 68). BASF’s own choice of another forum

underscores the unreasonableness of forcing the Defendants to litigate in this forum. See ESAB,

685 F.3d at 393 (acknowledging that South Carolina’s interest may be diminished if the insured

itself chooses to litigate in another state); see also Foster v. Arletty 3 Sarl, 278 F.3d 409, 416 (4th

Cir. 2002) (the insured’s attempt to litigate in another forum was a factor to consider in determining

whether it was constitutionally reasonable to force the defendant to litigate in South Carolina).

        On this issue, this case is significantly different from In re Aqueous Film-Forming Foams,

2023 WL 6846676, at *6, where this Court held that it was constitutionally reasonable for out-of-

state insurers to defend themselves in South Carolina. In that case, this Court found that South

Carolina was a “convenient, timely, and effective forum to adjudicate.” Id. Here, the opposite is

true: there are two more effective forums that can bring a more complete resolution to this action.

This forum cannot completely resolve BASF’s disputes with its insurers because there are parties

present in the other forums who are not present here. By filing the New Jersey Action, BASF has

itself demonstrated the unreasonableness of litigating this action in South Carolina.

        Finally, the fifth factor of the reasonableness analysis focuses on whether the exercise of

personal jurisdiction by the forum state affects the substantive social policy interests of other states

or foreign nations. TH Agric. & Nutrition, LLC v. Ace Eur. Grp. Ltd., 488 F.3d 1282, 1297 (10th

Cir. 2007).    Great care must be exercised when considering personal jurisdiction in the

international context. Asahi Metal Indus. Co. v. Superior Ct. of California, Solano Cnty., 480 U.S.

102, 103, 107 S. Ct. 1026, 1027, 94 L. Ed. 2d 92 (1987). As noted above, this case involves a

dispute between out-of-state insurers – including insurers in foreign nations – and an out-of-state

insured. The Court can infer that South Carolina law is unlikely to govern the coverage disputes.




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Accordingly, the only substantive social policy interests in play are held by other states and other

nations. This factor further weighs against this Court extending its jurisdiction in this action.

        For all these reasons, Coliseum respectfully asks the Court to dismiss this action because

this Court lacks personal jurisdiction over these Defendants.

IV.    THE COURT SHOULD DISMISS THIS CASE PURSUANT TO THE COMMON
       LAW DOCTRINE OF FORUM NON CONVENIENS OR, IN THE ALTERNATIVE,
       TRANSFER THIS ACTION TO THE SOUTHERN DISTRICT OF NEW YORK

        Forum non conveniens is a common law doctrine enabling a court to dismiss a case when

a foreign forum is the more appropriate venue based on a range of convenience-related factors.

Whitaker v. Monroe Staffing Servs., LLC, 42 F.4th 200, 207 (4th Cir. 2022). Although forum non

conveniens is often applied where the alternative forum is abroad, it also applies in rare instances

where a state or territorial court is most convenient. Sinochem Int’l Co. v. Malaysia Int’l Shipping

Corp., 549 U.S. 422, 430, 127 S. Ct. 1184, 1190, 167 L. Ed. 2d 15 (2007). Where, as here, the

plaintiff’s choice of forum is not the plaintiff’s home forum, the normal presumption in favor of

the plaintiff’s choice applies with less force. Id. at 423.

        In applying the doctrine of forum non conveniens, a District Court must determine whether

the alternative forum is: (1) available; (2) adequate; and (3) more convenient in light of the public

and private interests involved. Jiali Tang v. Synutra Int’l, Inc., 656 F.3d 242, 248 (4th Cir. 2011).

Availability will ordinarily be satisfied when the defendant is amenable to process in the other

jurisdiction. Id. at 249. A foreign forum is adequate when: (1) all parties can come within that

forum’s jurisdiction; and (2) the parties will not be deprived of all remedies or treated unfairly,

even though they may not enjoy the same benefits as they might receive in this court. Id. Here,

there is no question that courts in both New York and New Jersey are available and adequate for

this dispute. BASF must agree because it filed its own competing action in New Jersey.




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        If the alternative forum is both available and adequate, the district court must weigh public

and private interest factors, including: (1) the ease of access to sources of proof; (2) the availability

of compulsory process for securing the attendance of unwilling witnesses; (3) the costs of

obtaining the attendance of witnesses; (4) the ability to view premises; (5) the general facility and

cost of trying the case in the selected forum; and (6) the public interest, including administrative

difficulties, the local interest of having localized controversies decided at home, and the interest

of trying cases where the substantive law applies. Compania Naviera Joanna SA v. Koninklijke

Boskalis Westminster NV, 569 F.3d 189, 200 (4th Cir. 2009); see also Jiali Tang, 656 F.3d at 249.5

        As noted above, neither BASF nor any of the Defendants are citizens of South Carolina.

Therefore, sources of proof and witnesses are likely to be found where BASF is located (Delaware

or New Jersey) or in any of the states or foreign nations where the Defendants are located. Several

Defendants, including Coliseum, are alleged to be located in New York. Although there are

underlying lawsuits pending in South Carolina, the sources of proof and witnesses relevant to this

case are those bearing on the existence, interpretation, and application of the Defendants’ insurance

policies – not the sources of proof and witnesses relevant to the underlying claims.

        Additionally, as noted above, the Court can infer from the location of the parties that South

Carolina law is unlikely to apply to the interpretation of the policies. Therefore, both New Jersey

(where BSAF is located) and New York (where Coliseum and several other Defendants are alleged

to be located) have a strong public interest in deciding this case and applying their own substantive

law. South Carolina has no similar interest.




5
  To decide whether to transfer venue, the District Courts considers the following similar factors:
(1) the weight accorded to plaintiff’s choice of venue; (2) witness convenience and access; (3)
convenience of the parties; and (4) the interest of justice. Trustees of the Plumbers & Pipefitters
Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d 436, 444 (4th Cir. 2015).


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       Finally, dismissal on grounds of forum non conveniens is especially appropriate here where

there are three competing actions.6 Furthermore, this action includes the least number of parties

out of all three actions (see Appendix A). Thus, this Court cannot completely resolve BASF’s

dispute with its insurers because some insurers are only present in other actions. For the same

reason, if the insurers have need to make claims against one another to allocate insurance payments

between them, that would also be impossible to completely resolve in this action. Accordingly,

this action should be dismissed so that the parties can move forward with litigating this coverage

dispute in either New York or New Jersey.7

V.    THERE ARE OTHER GROUNDS UPON WHICH THIS ACTION SHOULD BE
      DISMISSED OR, IN THE ALTERNATIVE, STAYED

       Coliseum joins and incorporates by reference the arguments set forth in the Partial AIU

Insurers’ Motion to Dismiss or, in the alternative, Stay this Action, including: (1) the argument

that this Court should decline to exercise jurisdiction under general principles of law, as well as

the abstention doctrine; and (2) BASF lacks capacity to sue in South Carolina under South

Carolina’s Door-Closing Statute.

       Coliseum also joins and incorporates by reference the arguments set forth in Allstate

Insurance Company’s Motion to Dismiss, including the argument that this action should be

dismissed under Fed. R. Civ. P. 12(b)(7) for failing to join all necessary and indispensable parties.




6
  The issue of competing actions with more complete parties was not addressed in this Court’s
prior decision in In re Aqueous Film-Forming Foams, 2023 WL 6846676, at *8. Accordingly,
that decision, which was decided under different facts, does not control the outcome of the forum
non conveniens arguments advanced in this case.
7
  In addressing this Motion, the Court does not need to decide whether New York or New Jersey
is the more appropriate forum. The Court simply needs to decide that South Carolina is a less
appropriate forum than either New York or New Jersey.


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VI.    CONCLUSION

        For the foregoing reasons, Coliseum respectfully requests that the Court dismiss this action

pursuant to Fed. R. Civ. P. 12(b)(2) and the common law doctrine of forum non conveniens or, in

the alternative, transfer this action to the U.S. District Court for the Southern District of New York.

Dated: April 24, 2024                                  Respectfully Submitted,

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                                                       merger to AXA Insurance Company, formerly
                                                       known as Colonia Insurance Company, a
                                                       New York Corporation




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                                   APPENDIX A
                         INSURERS NAMED IN EACH ACTION

   South Carolina Action              New York Action               New Jersey Action

                                 ACE American Ins. Co.          ACE American Ins. Co.
AIU Ins. Co.                     AIU Ins. Co.                   AIU Ins. Co.
Allianz Global Risks US Ins.     Allianz Global Risks US Ins.   Allianz Global Risks US Ins.
Co.                              Co.                            Co.
Allianz Versicherungs-Ag         Allianz Versicherungs-Ag       Allianz Versicherungs-Ag
Allstate Ins. Co.                Allstate Ins. Co.              Allstate Ins. Co.
AXA Group AG                     AXA Group AG                   AXA Group AG
AXA Ins. Co.                     AXA Ins. Co.                   AXA Ins. Co.
                                 Central National Ins. Co. Of
                                 Omaha
                                 Certain London Market Ins.     Certain London Market Ins.
                                 Companies                      Companies
                                 Certain Underwriters At        Certain Underwriters At
                                 Lloyd’s, London                Lloyd’s, London
Employers Mutual Casualty        Employers Mutual Casualty      Employers Mutual Casualty
Co.                              Co.                            Co.
                                                                European Reinsurance Co. of
                                                                Zurich
                                 Everest Reinsurance Co.        Everest Reinsurance Co.
                                                                Federal Ins. Co.
First State Ins. Co.             First State Ins. Co.           First State Ins. Co.
Granite State Ins. Co.           Granite State Ins. Co.         Granite State Ins. Co.
                                                                Greenwich Ins. Co.
HDI Global Ins. Co.              HDI Global Ins. Co.            HDI Global Ins. Co.
HDI Global SE                    HDI Global SE                  HDI Global SE
Ins. Co. Of North America        Ins. Co. Of North America      Ins. Co. Of North America
Ins. Co. Of The State Of         Ins. Co. Of The State Of       Ins. Co. Of The State Of
Pennsylvania                     Pennsylvania                   Pennsylvania
Interstate Fire & Casualty Co.   Interstate Fire & Casualty Co. Interstate Fire & Casualty
                                                                Co.
                                 Lexington Ins. Co.             Lexington Ins. Co.
                                                                Midstates Reinsurance Corp.
                                 Munich Reinsurance             Munich Reinsurance
                                 America, Inc.                  America, Inc
                                 National Casualty Co.          National Casualty Co.
National Union Fire Ins. Co.     National Union Fire Ins. Co.   National Union Fire Ins. Co.
Of Pittsburgh, Pa                Of Pittsburgh, Pa              Of Pittsburgh, Pa
New England Ins. Co.                                            New England Ins. Co.
                                 New England Reins. Corp.       New England Reins. Corp.
                                                                Pacific Ins. Co.


                                         Appendix 1
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  South Carolina Action          New York Action               New Jersey Action

                                                           Safety National Casualty
                                                           Corp.
                                                           Swiss Reinsurance Co.
RSA Ins. Group Limited      RSA Ins. Group Limited         RSA Ins. Group Limited
TIG Ins. Co.                TIG Ins. Co.                   TIG Ins. Co.
Travelers Casualty And      Travelers Casualty And         Travelers Casualty & Surety
Surety Co.                  Surety Co.                     Co.
Twin City Fire Ins. Co.     Twin City Fire Ins. Co.        Twin City Fire Ins. Co.
Westport Ins. Corp.         Westport Ins. Corp.            Westport Ins. Corp.
Zurich Ins. Group Ltd.                                     Zurich Ins. Group Ltd.
                            Zurich International
                            (Bermuda) Limited




                                     Appendix 2
